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                               UNITED         STATEs         DISTRICT          CouRT


                     for the                   District of                          New Jersey

            United States of America                                                    AMENDED
                                                                       ORDER SETTING CONDITIONS
                          v.                                                  OF RELEASE
             CARLSEN BARNETT
                                                                           Case Number: 1 1-452-7(FLW)
                     Defendant

IT IS ORDERED on this 7th day of May, 2012 that the release of the defendant is subject to the following
conditions:
       (1) The defendant must not violate any federal, state or local law while on release.
       (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
           42 U.S.C. § 14135a.
       (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
            any change in address and/or telephone number.
       (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.
                                                       Release on Bond

Bail be fixed at   $____________________     and the defendant shall be released upon:

      ( )   Executing an unsecured appearance bond ( ) with co-signor(s)
      ( )   Executing a secured appearance bond ( ) with co-signor(s)
            and ( ) depositing in cash in the registry of the Court       of the bail fixed; and/or ( ) execute an
            agreement to forfeit designated property located at
            Local Criminal Rule 46. 1(d)(3) waived/not waived by the Court.
      ( )   Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail
            in lieu thereof

                                             Additional Conditions of Release

Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the defendant
and the safety of other persons and the community, it is further ordered that the release of the defendant is subject to the
condition(s) listed below:

IT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:
      ( ) Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law
          enforcement personnel, including but not limited to, any arrest, questioning or traffic stop.
      ( ) The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper
          with any witness, victim, or informant; not retaliate against any witness, victim or informant in this case.
      ( ) The defendant shall be released into the third party custody of____________________________________
            who agrees à) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort
            to assure the appearance ofthe defendant at all scheduled court proceedings, and (c,) to notijj.; the court
            immediately in the event the defendant violates any conditions ofrelease or disappears.


              Custodian Signature:                                              Date:
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      (    ) The defendant’s travel is restricted to ( ) New Jersey ( ) Other
                                                                               ( ) unless approved by Pretrial Services
           (PTS).
      ( ) Surrender all passports and travel documents to PTS. Do not apply for new travel documents.
      ( ) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with
           substance abuse testing procedures/equipment.
      ( ) Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any
           home in which the defendant resides shall be removed by                         and verification provided to PTS.
      ( )  Mental    health  testing/treatment as directed by PTS.
      ( ) Abstain from the use of alcohol.
      ( ) Maintain current residence or a residence approved by PTS.
      ( ) Maintain or actively seek employment and/or commence an education program.
      ( ) No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.
      ( ) Have no contact with the following individuals:
      ( ) Defendant is to participate in one of the following home confinement program components and abide by
           all the requirements of the program which ( ) will or ( ) will not include electronic monitoring or other
           location verification system. You shall pay all or part of the cost of the program based upon your ability to
           pay as determined by the pretrial services office or supervising officer.
            ( ) (i) Curfew. You are restricted to your residence every day ( ) from                     to           or
                         ( ) as directed by the pretrial services office or supervising officer; or
            ( )    (ii)  Home    Detention. You are restricted to your residence at all times except for the following:
                         education; religious services; medical, substance abuse, or mental health treatment;
                         attorney visits; court appearances; court-ordered obligations; or other activities pre-.
                         approved by the pretrial services office or supervising officer. Additionally, employment
                         ( ) is permitted ( ) is not permitted.
            ( )    (iii) Home    Incarceration. You are restricted to your residence under 24 hour lock-down except
                         for medical necessities and court appearances, or other activities specifically approved by
                         the court.
       ( ) Defendant is subject to the following computer/internet restrictions which may include manual
            inspection and/or the installation of computer monitoring software, as deemed appropriate by
            Pretrial Services. The defendant shall pay all or part of the cost of the monitoring software based
            upon their ability to pay, as determined by the pretrial services office or supervising officer.
            ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                        -




                         connected devices.
            ( )   (ii)   Computer  -    No Internet Access: defendant is permitted use of computers or connected
                         devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC
                         Servers, Instant Messaging, etc);
            ( ) (iii) Computer With Internet Access: defendant is permitted use of computers or connected
                         devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers,
                         Instant Messaging, etc.) for legitimate and necessary purposes pre-approved by Pretrial
                         Services at [ j home [ ] for employment purposes.
            ( )   (iv)   Consent   of Other Residents -by consent of other residents in the home, any computers in
                         the home utilized by other residents shall be approved by Pretrial Services, password
                         protected by a third party custodian approved by Pretrial Services, and subject to inspection
                         for compliance by Pretrial Services.

       (X Other Defendant shall be removed from electronic monitorijg All other conditions preioushi set shall
remain in effect.
       ( ) Other:
          ( ) Other:
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                                   ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your
arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court
and could result in imprisonment, a fine, or both.
            While on release, if you commit a federal felony offense the punishment is an additional prison term of not more
than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year.
This sentence will be consecutive (i.e., in addition to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or
informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties
for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
            If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:
                (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
                    —  you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
                (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years you
                                                                                                                         *




                     will be fined not more than $250,000 or imprisoned for not more than five years, or both;
                (3) any other felony you will be fined not more than $250,000 or imprisoned not more than two years, or
                                    —




                     both;
                (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, or
                                   —




                     both.
                A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence
you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                           Acknowledgment of the Defendant

              I acknowledge that I am the defendant in this cas,ançI that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, andlrrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.                   / j
                                                                   /k     9-
                                                           (\N          Defendant’s Signature

                                                           Bensalem Pennsylvania
                                                                          City and State

                                        Directions to the United States Marshal
  (X) The defendant is ORDERED released after processing.
  ( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
      that the defendant has posted bond andJor complied with all other conditions for release, If still in custody, the
      defendant must be produced before the appropriate judge at the ti e and place specified.

 Date: _Miyi2Q12______
                                                                        Jz4licial Officer ‘s Signature
                                                             FREDA L. WOLFSON, U.S.D.J.
                                                                      Printed name and title
 (REV. 1/09)                                                                                                      PAGF 3 OF 3
